Case 2:04-cr-20313-SH|\/| Document 69 Filed 05/17/05 Page 1 of 2 Page|D 100

IN THE UNITED STATES DISTRICT COURT w \Z _f_i….ii?.C`
FOR THE WESTER.N DISTRICT OF TENNESSEE
W'ESTERN DI'VISION

 

ser umw
gCl.rE'j£;:‘.;(~'-§_;_lji_:.|. ?§§_?. C»T.¢
UNITED sTATEs oF AMERICA, J' ` w midme

Plaintiff,
CR. NO. 04-20313~1*/15.

V'S.

WILLIAM WOODS 1

~`_,-_¢~./~._/~__/-__,~_/~_/~_/

Defendant.

 

ORDER ON CONTIN'UANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on April 21, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial date to
the rotation docket beginning June 6, 2005 at 9:30 a.m., with a
report date of Tuesday, May 31, 2005 at 2:00 p.m.

The period from April 21, 2005 through June 17, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

/7¢|4\

IT IS SO ORDERED this day of May, 2005.

`M<//M..__._

SAMUEL H. MAYS, JR.
U'NITED STATES DISTRICT JUDGE

f " Ph`ar\ce
Th`\S document entered on the docKez`sYe/et(i ¢.;/Qm
ancilch 32(b] FHCrP on

with F\u\e 55

 

94

   

UNITED TEATS DISTRIC COURT - \)VESRNTE D"RITICT o TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 69 in
case 2:04-CR-203]3 Was distributed by faX, mail, or direct printing on
May ]8, 2005 to the parties listed.

 

 

M. lake Werner

LAW OFFICE OF M. JAKE WERNER
46 N. Third St.

Ste. 628

Memphis7 TN 38103

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Doris A. Randle-Holt

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

